    Case 08-14631-GMB Doc 206-1 Filed 04/24/08 Entered 04/24/08 09:59:28                    Desc
                          Proposed Order Page 1 of 2
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)
John R. Morton, Jr., Esquire
110 Marter Avenue, Suite 301
Moorestown, NJ 08057
(856)866-0100
Attorney for Wells Fargo Equipment Financing, Inc.
Our File No.: 25876
JM-5630

In Re:                                                   Case No.:             08-14631
                                                                         ____________________
Shapes/Arch Holdings L.L.C.
                                                         Hearing Date: ____________________

                                                         Judge:          _____________________
                                                                                 GMB

                                                         Chapter:        _____________________
                                                                                   11




                Recommended Local Form:            ”    Followed         ”   Modified




                                          ORDER VACATING STAY

         The relief set forth on the following page is hereby ORDERED.
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       Upon the motion of __________________________________________________,
                                   Wells Fargo Equipment Financing, Inc.      under
Bankruptcy Code section 362(a) for relief from the automatic stay as to certain property as
hereinafter set forth, and for cause shown, it is

       ORDERED that the automatic stay is vacated to permit the movant to institute or resume
and prosecute to conclusion one or more actions in the court(s) of appropriate jurisdiction to
pursue the movant’s rights in the following:

       ‘       Real property more fully described as:




       ‘       Personal property more fully described as:
                JLG MDL 600S BOOM LIFT
                Vehicle Identification Number
                0300087915

       It is further ORDERED that the movant may join the debtor and any trustee appointed in
this case as defendants in its action(s) irrespective of any conversion to any other chapter of the
Bankruptcy Code.


       The movant shall serve this order on the debtor, any trustee and any other party who
entered an appearance on the motion.




                                                                                           Rev. 7/1/04; jml




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